Case 16-12903-JDW      Doc 103    Filed 04/24/20 Entered 04/24/20 11:43:26                 Desc Main
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 _________________________________________________________________________________

                                               SO ORDERED,



                                               Judge Jason D. Woodard
                                               United States Bankruptcy Judge


        The Order of the Court is set forth below. The case docket reflects the date entered.
 ________________________________________________________________________________
                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI

 IN RE:                                                          CHAPTER 13 CASE NO.:

 CASANDRA RILEY JEFFRIES                                         16-12903-JDW

          AGREED ORDER DENYING MOTION TO DISMISS (DKT. #99)

       THIS MATTER came before the Court on the Motion to Dismiss (Dkt. #99)

 (the “Motion”) filed by Locke D. Barkley, Chapter 13 Trustee (the “Trustee”) and the

 response thereto filed by the Debtor (Dkt. #100). Upon agreement of the parties,

       IT IS ORDERED that the Motion shall be and is hereby denied.

                                         ##END OF ORDER##

 AGREED & APPROVED:

 /s/ W. Jeffrey Collier
 W. JEFFREY COLLIER – MSB#10645
 ATTORNEY FOR TRUSTEE

 /s/ Robert H. Lomenick, Jr.
 ROBERT H. LOMENICK, JR.
 ATTORNEY FOR DEBTOR
                                                                        Prepared by:
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